                  Case 1:24-cv-08393-PAE                      Document 9              Filed 11/14/24             Page 1 of 5


                    1:24-cv-08393




            I served the US Department of Education by mailing a copy of the summons and the complaint by USPS certified mail to the US
            Department of Education on 11/8/2024. Please see the photo of the attached USPS receipt and delivery confirmation, showing
            delivery address and that the summons and complaint were delivered on 11/12/2024.




Since the US Department of Education is a government agency, I also served the United States by (1) mailing a copy of the complaint and
summons by USPS certified mail to the Attorney General of the United States on 11/14/2024 and (2) mailing a copy of the complaint and
summons to the civil process clerk at the U.S. Attorney’s office for the Southern District of New York by USPS certified mail on 11/14/2024. They
are both pending delivery. Proofs of service for each of these entities will filed with the court upon confirmation of delivery.
          Case 1:24-cv-08393-PAE        Document 9      Filed 11/14/24   Page 2 of 5
                                Thursday, November 14, 2024 at 14:45:14 Eastern Standard Time


Subject: Fw: USPS eReceipt
Date:    Friday, November 8, 2024 at 3:35:41 PM Eastern Standard Time
From:    Helen Zhong
To:      hz2570@columbia.edu




From: DoNotReply@ereceipt.usps.gov <DoNotReply@ereceipt.usps.gov>
Sent: Friday, November 8, 2024 3:11:24 PM
To: helenzhong@live.com <helenzhong@live.com>
Subject: USPS eReceipt


         USPSlogo




                                      JAMES A FARLEY
                                       421 8TH AVE
                                 NEW YORK, NY 10001-9998
                                      (800)275-8777
 11/08/2024                                                         03:11 PM
 ---------------------------------------------------------------------------
 Product                                       Qty           Unit      Price
                                                            Price
 ---------------------------------------------------------------------------
 First-Class Mail®                             1                       $2.04
 Large Envelope
     Washington, DC 20202
     Weight: 2.50 oz
     Estimated Delivery Date
         Tue 11/12/2024
     Tracking #:
         9514 8066 9291 4313 6026 81
     Certified Mail®                                                   $4.85
     e-Return Receipt                                                  $2.62
 Total                                                                 $9.51
 ---------------------------------------------------------------------------
 Grand Total:                                                          $9.51
 ---------------------------------------------------------------------------
 Credit Card Remit                                                     $9.51
     Card Name: VISA
     Account #: XXXXXXXXXXXX3632
     Approval #: 01071C
     Transaction #: 710
     Receipt #: 000710
     AID: A0000000031010             Contactless


                                                                                       Page 1 of 3
       Case 1:24-cv-08393-PAE   Document 9   Filed 11/14/24   Page 3 of 5


    AL: Visa Credit
---------------------------------------------------------------------------

                    Use Tracking # for inquiry on Return
                           Receipt (Electronic).

                    For Return Receipt (by email), visit
                   USPS.com, click on Track & Manage and
                 enter Tracking number; click on drop-down
                   arrow under Return Receipt Electronic;
                 enter name and email address and click on
                               Request Email.

                 Text your tracking number to 28777 (2USPS)
                 to get the latest status. Standard Message
                   and Data rates may apply. You may also
                  visit www.usps.com USPS Tracking or call
                              1-800-222-1811.

                             Preview your Mail
                            Track your Packages
                             Sign up for FREE @
                     https://informeddelivery.usps.com

                   All sales final on stamps and postage.
                   Refunds for guaranteed services only.
                        Thank you for your business.

                       Tell us about your experience.
                          Go to: https://postalexperience.com/ssk?mt=13

---------------------------------------------------------------------------

UFN: 359628-9556
Receipt #: 840-11000205-1-4669594-1
Clerk: 00

Privacy Act Statement: Your information will be used to provide you with an
electronic receipt for your purchase transaction via email. Collection is
authorized by 39 USC 401, 403, and 404. Providing the information is
voluntary, but if not provided, we will be unable to process your request to
receive an electronic receipt. We do not disclose your information to third
parties without your consent, except to facilitate the transaction, to act
on your behalf or request, or as legally required. This includes the
following limited circumstances: to a congressional office on your behalf;
to financial entities regarding financial transaction issues; to a U.S.
Postal Service auditor; to entities, including law enforcement, as required
by law or in legal proceedings; to contractors and other entities aiding us
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government agencies if needed as part of their duties; and to a foreign
government agency for violations and alleged violations of law. For more
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                                                                            Page 2 of 3
       Case 1:24-cv-08393-PAE   Document 9   Filed 11/14/24   Page 4 of 5


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                                                                            Page 3 of 3
               Case 1:24-cv-08393-PAE                 Document 9           Filed 11/14/24         Page 5 of 5


November 12, 2024

Dear Zhong Helen:

The following is in response to your request for proof of delivery on your item with the tracking number:
4202 0202 9514 8066 9291 4313 6026 81.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     November 12, 2024, 8:14 am
Location:                                               WASHINGTON, DC 20202
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Recipient Name:                                         US DEPT OF EDU
Shipment Details

Weight:                                                 3.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
